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                           IN THE UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF UTAH


 INTERCONTINENTAL BUILDING
 PRODUCTS, LLC,                                        AMENDED SCHEDULING ORDER
           Plaintiff,

 v.                                                    Case No. 2:21-cv-00732-TC-DBP
 DSV AIR & SEA, INC.,                                  District Judge Tena Campbell

           Defendant.                                  Chief Magistrate Judge Dustin B. Pead


       Before the court is the parties’ Stipulated Motion to Amend Scheduling Order (“Motion”).

The court, having considered the Motion, the docket, the stipulation of the parties, and being

sufficiently advised in the premises, hereby GRANTS the Motion. The Scheduling Order (ECF

13) is amended as follows:


                        **ALL TIMES 4:30 PM UNLESS INDICATED**

 1.            PRELIMINARY MATTERS                                                       DATE

               Nature of claims and any affirmative defenses:

      a.       Date the Rule 26(f)(1) conference was held?                              02/22/22

               Have the parties submitted the Attorney Planning                         02/22/22
      b.
               Meeting Report?

      c.       Deadline for 26(a)(1) initial disclosures?                               03/07/22

 2.            DISCOVERY LIMITATIONS                                                   NUMBER

      a.       Maximum number of depositions by Plaintiff(s):                                  10

      b.       Maximum number of depositions by Defendant(s):                                  10




                                                   1
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         c.    Maximum number of hours for each deposition                                   7
               (unless extended by agreement of parties):

         d.    Maximum interrogatories by any party to any party:                           25

         e.    Maximum requests for admissions by any party to any                          25
               party:

         f.    Maximum requests for production by any party to any                          25
               party:

         g.    The parties shall handle discovery of electronically stored information as follows:

         h.    The parties shall handle a claim of privilege or protection as trial preparation
               material asserted after production as follows: Include provisions of agreement to
               obtain the benefit of Fed. R. Evid. 502(d).

         i.    Last day to serve written discovery:                                      11/25/22

         j.    Close of fact discovery:                                                  12/23/22

         k.    (optional) Final date for supplementation of                              00/00/00
               disclosures and discovery under Rule 26(e):

    3.         AMENDMENT OF PLEADINGS/ADDING PARTIES 1                                    DATE

         a.    Last day to file Motion to Amend Pleadings:                               05/02/22

         b.    Last day to file Motion to Add Parties:                                   05/02/22

    4.         RULE 26(a)(2) EXPERT DISCLOSURES &                                         DATE
               REPORTS

         Disclosures (subject and identity of experts)

         a.    Party(ies) bearing burden of proof:                                       01/20/23

         b.    Counter disclosures:                                                      02/17/23

         Reports

         a.    Party(ies) bearing burden of proof:                                       02/17/23



1
    Counsel must still comply with the requirements of Fed. R. Civ. P. 15(a).


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         b.   Counter reports:                                                         03/24/23

    5.        OTHER DEADLINES                                                           DATE

         a.   Last day for expert discovery:                                           03/24/23

         b.   Deadline for filing dispositive or potentially dispositive               05/02/23
              motions:

         c.   Deadline for filing partial or complete motions to                       05/02/23
              exclude expert testimony:

    6.        SETTLEMENT/ALTERNATIVE DISPUTE RESOLUTION                                 DATE

         a.   Likely to request referral to a magistrate judge for           Yes
              settlement conference:

         b.   Likely to request referral to court-annexed arbitration:        No

         c.   Likely to request referral to court-annexed mediation:         Yes

         d.   The parties will complete private mediation/arbitration                  05/02/23
              by:

         e.   Evaluate case for settlement/ADR on:                                     03/25/23

         f.   Settlement probability:                                      Good

                                         Specify # of days for Bench or Jury trial as appropriate.
                                                       The Court will complete the shaded areas.

    7.        TRIAL AND PREPARATION FOR TRIAL                               TIME        DATE

         a.   Rule 26(a)(3) pretrial disclosures 1

              Plaintiff(s):                                                          09/01/23

              Defendant(s):                                                          09/15/23

         b.   Objections to Rule 26(a)(3) disclosures                                00/00/00
              (if different than 14 days provided in Rule)



1
  The Parties must disclose and exchange any demonstrative exhibits or animations with the
26(a)(3) disclosures.


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         c.   Special Attorney Conference 2 on or before:                              09/29/23

         d.   Settlement Conference 3 on or before:                                    09/29/23

         e.   Final Pretrial Conference:                                3:00 p.m.      10/23/23

         f.   Trial                                   Length

              i. Bench Trial                          # days            ___:__ _.m. 00/00/00

              ii. Jury Trial                          # days            8:30 a.m.      11/13/23

    8.        OTHER MATTERS

              Parties should fully brief all Motions in Limine well in advance of the pretrial
              conference.



         DATED this 24 August 2022.




                                               Dustin B. Pead
                                               United States Magistrate Judge




2
  The Special Attorneys Conference does not involve the court. During this conference, unless
otherwise ordered by the court, counsel will agree, to the extent possible, on voir dire questions,
jury instructions, and a pretrial order. They will discuss the presentation of the case, and they
should schedule witnesses to avoid gaps and disruptions. The parties should mark exhibits in a
way that does not result in duplication of documents. The pretrial order should include any special
equipment or courtroom arrangement requirements.
3
  The Settlement Conference does not involve the court unless the court enters a separate order.
Counsel must ensure that a person or representative with full settlement authority or otherwise
authorized to make decisions regarding settlement is available in person or by telephone during
the Settlement Conference.


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